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                         UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF CALIFORNIA
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9
     HOANG NGUYEN,                       CR. NO. 2:99-00433-05 WBS
10
                   Petitioner,           ORDER
11
          v.
12
     UNITED STATES OF AMERICA,
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                   Respondent.
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19               IT IS HEREBY ORDERED that petitioner’s motion

20   pursuant to 28 U.S.C. § 2255 (Docket Nos. 1719) is referred to a

21   Magistrate Judge for all further proceedings pursuant to 28

22   U.S.C. § 636(b)(1)(B).      The previously set briefing schedule

23   (Docket No. 1722) shall remain in effect.

24              IT IS SO ORDERED.

25   Dated:    July 13, 2016

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